

Smith v Village of Arcade (2017 NY Slip Op 09042)





Smith v Village of Arcade


2017 NY Slip Op 09042


Decided on December 22, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 22, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: PERADOTTO, J.P., CARNI, DEJOSEPH, CURRAN, AND WINSLOW, JJ.


1442 CA 17-00478

[*1]FRANCIS X. SMITH AND CHERYL SMITH, PLAINTIFFS-RESPONDENTS,
vVILLAGE OF ARCADE AND ARCADE FIRE DEPARTMENT, INC., ALSO KNOWN AS VILLAGE OF ARCADE FIRE DEPARTMENT, DEFENDANTS-RESPONDENTS, DONALD J. SAULTER, JR., DEFENDANT-APPELLANT, ET AL., DEFENDANT. (APPEAL NO. 2.) 






KENNEY SHELTON LIPTAK NOWAK, LLP, BUFFALO (AALOK J. KARAMBELKAR OF COUNSEL), FOR DEFENDANT-APPELLANT. 
BRADY &amp; SWENSON, P.C., SALAMANCA (MATTHEW R. SWENSON OF COUNSEL), FOR PLAINTIFFS-RESPONDENTS. 
LIPPMAN O'CONNOR, BUFFALO (ROBERT M. LIPPMAN OF COUNSEL), FOR DEFENDANTS-RESPONDENTS. 


	Appeal from an order of the Supreme Court, Wyoming County (Michael M. Mohun, A.J.), entered February 2, 2017. The order, among other things, denied in part the motion of defendant Donald J. Saulter, Jr. for a determination that defendant Village of Arcade is obligated to indemnify him and pay for the costs of his defense. 
Now, upon the stipulations of discontinuance signed by the attorneys for the parties on February 16 and June 23, 2017, and filed in the Wyoming County Clerk's Office on April 28 and July 24, 2017,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: December 22, 2017
Mark W. Bennett
Clerk of the Court








